                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION



 H&R BLOCK, INC. and
 HRB INNOVATIONS, INC.

                        Plaintiffs,
                                                       Case No. 4:21-cv-00913
        v.

 BLOCK, INC.

                        Defendant.


      REBUTTAL DECLARATION OF ANTHONY J. DURONE IN SUPPORT OF
      PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR A PRELIMINARY
                              INJUNCTION

       I, Anthony J. Durone, hereby declare as follows:

       1.      I am an attorney licensed to practice law in the State of Missouri. I am a Partner

in the law firm of Berkowitz Oliver LLP. I am over the age of 18 and competent to testify.

       2.      I submit this declaration in support of Plaintiffs’ reply brief in support of the

motion of H&R Block, Inc. and HRB Innovations, Inc. for a preliminary injunction against

Defendant Block, Inc. in order to provide publicly-available evidence rebutting certain

arguments made by Block, Inc. in opposition to the motion. This declaration is based on my

personal knowledge, information, and belief.

Money Transmitter Licenses

       3.      The Nationwide Multistate Licensing System and Registry (“NMLS”) allows

state money transmitter licensees to submit certain changes to their NMLS record in advance of a

desired effective date via the electronic NMLS system. A true and correct copy of a printout




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from the NMLS Resource Center entitled “Advance Change Notice” is attached as Exhibit 1,

and can be accessed at

https://nationwidelicensingsystem.org/slr/common/Pages/AdvanceChangeNotice.aspx.

       4.      The NMLS provides guidance to money transmitters regarding advance notice or

approval requirements before a legal name may be changed. See id.

       5.      The NMLS website indicates at least 20 states that do not impose any notice or

approval requirement to change a money transmitter’s legal name, including:

            a. Alabama. A true and correct copy of a printout of the NMLS’s Advance Change

               Notice Requirements Chart, sorted for (i) Agency “AL” and “AL-SC”, (ii)

               License Name “Money Transmitter License” and (iii) Legal Name Change, is

               attached as Exhibit 2, and can be accessed at

               https://nationwidelicensingsystem.org/slr/common/Pages/AdvanceChangeNotice.

               aspx at the “Advance Change Notice Requirements Chart” link;

            b. Arizona. A true and correct copy of a printout of the NMLS’s AZ Money

               Transmitter License Checklist (Company) is attached as Exhibit 3, and can be

               accessed at

               https://nationwidelicensingsystem.org/slr/PublishedStateDocuments/AZ_Money_

               Transmtter_License-Company-Amendment-Checklist.pdf;

            c. Arkansas. A true and correct copy of a printout of the NMLS’s AR Money

               Transmitter License Amendment Checklist (Company) is attached as Exhibit 4,

               and can be accessed at

               https://nationwidelicensingsystem.org/slr/PublishedStateDocuments/AR-

               MONEY-TRANSMITTER-LICENSE-Amendment-Checklist.pdf;




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 d. Colorado. A true and correct copy of a printout of the NMLS’s CO-DOB Money

    Transmitters License Amendment Checklist (Company) is attached as Exhibit 5,

    and can be accessed at

    https://mortgage.nationwidelicensingsystem.org/slr/PublishedStateDocuments/M

    TL_Company-Amendment-Checklist_DOB_Draft.pdf;

 e. Illinois. A true and correct copy of a printout of the NMLS’s IL Money

    Transmitter License Amendment Checklist (Company) is attached as Exhibit 6,

    and can be accessed at

    https://nationwidelicensingsystem.org/slr/PublishedStateDocuments/IL-Money-

    Transmitter-License-Company-Amendment-Checklist.pdf;

 f. Indiana. A true and correct copy of a printout of the NMLS’s IN-DFI Money

    Transmitter License Amendment Checklist (Company) is attached as Exhibit 7,

    and can be accessed at

    https://nationwidelicensingsystem.org/slr/PublishedStateDocuments/IN-DFI-

    Money-Transmitter-Company-Amendment-Checklist.pdf;

 g. Minnesota. A true and correct copy of a printout of the NMLS’s Minnesota

    Money Transmitter License Company Amendments, Agency Requirements

    document is attached as Exhibit 8, and can be accessed at

    https://nationwidelicensingsystem.org/slr/PublishedStateDocuments/MN-Money-

    Transmitter-Company-Amendment-Checklist.pdf;

 h. Mississippi. A true and correct copy of a printout of the NMLS’s MS Money

    Transmitter License Amendment Checklist (Company) is attached as Exhibit 9,

    and can be accessed at




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      https://nationwidelicensingsystem.org/slr/PublishedStateDocuments/MS_Money_

      Transmitter_License-Company-Amendment-Checklist.pdf;

 i.   Missouri. A true and correct copy of a printout of the NMLS’s MO Sale of

      Checks and Money Transmitter License Amendment Checklist (Company) is

      attached as Exhibit 10, and can be accessed at

      https://nationwidelicensingsystem.org/slr/PublishedStateDocuments/MO_Sale_of

      _Checks_and_Money_Transmitter_License-Amendment-Checklist.pdf;

 j.   Nebraska. A true and correct copy of a printout of the NMLS’s Nebraska Money

      Transmitter License Company Amendments Agency Requirements is attached as

      Exhibit 11, and can be accessed at

      https://nationwidelicensingsystem.org/slr/PublishedStateDocuments/NE-Money-

      Transmitter-License-Company-Amendment-Checklist.pdf;

 k. Nevada. A true and correct copy of a printout of the NMLS’s NV-FID Money

      Transmitter License Amendment Checklist (Company) is attached as Exhibit 12,

      and can be accessed at

      https://nationwidelicensingsystem.org/slr/PublishedStateDocuments/NE-Money-

      Transmitter-License-Company-Amendment-Checklist.pdf;

 l.   North Dakota. A true and correct copy of a printout of the NMLS’s ND Money

      Transmitter License Amendment Checklist (Company) is attached as Exhibit 13,

      and can be accessed at

      https://nationwidelicensingsystem.org/slr/PublishedStateDocuments/ND-Money-

      Transmitter-License-Company-Amendment-Checklist.pdf;




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 m. Ohio. A true and correct copy of a printout of the NMLS’s OH Money

    Transmitter License Amendment Checklist (Company) is attached as Exhibit 14

    and can be accessed at

    https://nationwidelicensingsystem.org/slr/PublishedStateDocuments/OH-Money-

    Transmitter-Company-Amendment-Checklist.pdf;

 n. Oregon. A true and correct copy of a printout of the NMLS’s OR Money

    Transmitter License Amendment Checklist (Company) is attached as Exhibit 15,

    and can be accessed at

    https://nationwidelicensingsystem.org/slr/PublishedStateDocuments/OH-Money-

    Transmitter-Company-Amendment-Checklist.pdf;

 o. Pennsylvania. A true and correct copy of a printout of the NMLS’s Pennsylvania

    Money Transmitter Amendment Checklist (Company) is attached as Exhibit 16,

    and can be accessed at

    https://nationwidelicensingsystem.org/slr/PublishedStateDocuments/PA-MT-

    Amendment-Checklist.pdf;

 p. Rhode Island. A true and correct copy of a printout of the NMLS’s RI Currency

    Transmitter License Amendment Checklist (Company) is attached as Exhibit 17,

    and can be accessed at

    https://nationwidelicensingsystem.org/slr/PublishedStateDocuments/RI_Currency

    _Transmitter-Company-Amendment-Checklist.pdf;

 q. Tennessee. A true and correct copy of a printout of the NMLS’s TN Money

    Transmitter License Amendment Checklist (Company) is attached as Exhibit 18,

    and can be accessed at




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               https://nationwidelicensingsystem.org/slr/PublishedStateDocuments/TN-Money-

               Transmitter-Company-Amendment-Checklist.pdf;

            r. Vermont. A true and correct copy of a printout of the NMLS’s VT Money

               Transmitter License Amendment Checklist (Company) is attached as Exhibit 19,

               and can be accessed at

               https://nationwidelicensingsystem.org/slr/PublishedStateDocuments/VT-Money-

               Transmitter-License-Amendment-Checklist.pdf;

            s. Washington. A true and correct copy of a printout of the NMLS’s WA Money

               Transmitter Amendment Checklist (Company) is attached as Exhibit 20, and can

               be accessed at

               https://nationwidelicensingsystem.org/slr/PublishedStateDocuments/WA-Money-

               Transmitter-Amendment-Checklist.pdf; and

            t. West Virginia. A true and correct copy of a printout of the NMLS’s West

               Virginia Money Transmitter License Company Amendments Agency

               Requirements is attached as Exhibit 21, and can be accessed at

               https://nationwidelicensingsystem.org/slr/PublishedStateDocuments/WV-Money-

               Transmitter-License-Company-Amendment-Checklist.pdf.

       6.      The NMLS website indicates 22 states that may impose some notice requirement

to change a money transmitter’s legal name, as follows:

            a. Georgia (5 days). A true and correct copy of a printout of the NMLS’s GA

               Money Transmitter License Amendment Checklist (Company) is attached as

               Exhibit 22, and can be accessed at




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    https://nationwidelicensingsystem.org/slr/PublishedStateDocuments/GA-Money-

    Transmitter-Company-Amendment-Checklist.pdf;

 b. Alaska (15 days). A true and correct copy of a printout of the NMLS’s AK Money

    Transmitter License Amendment Checklist (Company) is attached as Exhibit 23,

    and can be accessed at

    https://nationwidelicensingsystem.org/slr/PublishedStateDocuments/AK-

    Money_Transmitter_License-Company-Amendment-Checklist.pdf;

 c. Maine (15 days). A true and correct copy of a printout of the NMLS’s Maine

    Money Transmitter License Company Amendments Agency Requirements is

    attached as Exhibit 24, and can be accessed at

    https://nationwidelicensingsystem.org/slr/PublishedStateDocuments/ME-Money-

    Transmitter-Company-Amendment-Checklist.pdf;

 d. New York (30 days). A true and correct copy of a printout of the NMLS’s NY

    Money Transmitter License Amendment Checklist (Company) is attached as

    Exhibit 25, and can be accessed at

    https://nationwidelicensingsystem.org/slr/PublishedStateDocuments/NY_Money_

    Transmitter-Company-Amendment-Checklist.pdf;

 e. South Carolina (15 days). A true and correct copy of a printout of the NMLS’s SC

    Money Transmitter Amendment Checklist (Company) is attached as Exhibit 26,

    and can be accessed at

    https://nationwidelicensingsystem.org/slr/PublishedStateDocuments/Money_Tran

    smitter_Company_Amendment_Checklist.pdf;




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 f. South Dakota (15 days). A true and correct copy of a printout of the NMLS’s SD

      Money Transmitter License Amendment Checklist (Company) is attached as

      Exhibit 27, and can be accessed at

      https://nationwidelicensingsystem.org/slr/PublishedStateDocuments/SD-Money-

      Transmitter-License-Amendment-Checklist.pdf;

 g. Texas (15 days). A true and correct copy of a printout of the NMLS’s TX-DOB

      Money Transmitter License Amendment Checklist (Company) is attached as

      Exhibit 28, and can be accessed at

      https://nationwidelicensingsystem.org/slr/PublishedStateDocuments/TX-DOB-

      Money_Transmission-Company-Amendment-Checklist.pdf;

 h. Wyoming (15 days). A true and correct copy of a printout of the NMLS’s

      Advance Change Notice Requirements Chart, sorted for (i) Agency “WY”, (ii)

      License Name “Money Transmitter License” and (iii) Legal Name Change, is

      attached as Exhibit 29, and can be accessed at

      https://nationwidelicensingsystem.org/slr/common/Pages/AdvanceChangeNotice.

      aspx at the “Advance Change Notice Requirements Chart” link;

 i.   California (30 days). A true and correct copy of a printout of the NMLS’s CA-

      DFPI Money Transmitter License Amendment Checklist (Company) is attached

      as Exhibit 30, and can be accessed at

      https://nationwidelicensingsystem.org/slr/PublishedStateDocuments/CA-DFPI-

      Money-Transmitter-License-Company-Amendment-Checklist.pdf;

 j.   Connecticut (30 days). A true and correct copy of a printout of the NMLS’s CT

      Money Transmission License Amendment Checklist (Company) is attached as




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      Exhibit 31, and can be accessed at

      https://nationwidelicensingsystem.org/slr/PublishedStateDocuments/CT_Money_

      Transmission_License-Amendment-Checklist.pdf;

 k. Delaware (30 days). A true and correct copy of a printout of the NMLS’s

      Advance Change Notice Requirements Chart, sorted for (i) Agency “DE”, (ii)

      License Name “Check Seller, Money Transmitter License” and (iii) Legal Name

      Change, is attached as Exhibit 32, and can be accessed at

      https://nationwidelicensingsystem.org/slr/common/Pages/AdvanceChangeNotice.

      aspx at the “Advance Change Notice Requirements Chart” link;

 l.   Idaho (30 days). A true and correct copy of a printout of the NMLS’s Advance

      Change Notice Requirements Chart, sorted for (i) Agency “ID”, (ii) License

      Name “Money Transmitters” and (iii) Legal Name Change, is attached as Exhibit

      33, and can be accessed at

      https://nationwidelicensingsystem.org/slr/common/Pages/AdvanceChangeNotice.

      aspx at the “Advance Change Notice Requirements Chart” link;

 m. Kansas (30 days). 35 A true and correct copy of a printout of the NMLS’s Kansas

      Money Transmitter License Amendment Checklist (Company) is attached as

      Exhibit 34, and can be accessed at

      https://nationwidelicensingsystem.org/slr/PublishedStateDocuments/KS-Money-

      Transmitter-Company-Amendment-Checklist.pdf;

 n. Kentucky (30 days). A true and correct copy of a printout of the NMLS’s

      Advance Change Notice Requirements Chart, sorted for (i) Agency “KY”, (ii)

      License Name “Money Transmitter License” and (iii) Legal Name Change, is




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     attached as Exhibit 35, and can be accessed at

     https://nationwidelicensingsystem.org/slr/common/Pages/AdvanceChangeNotice.

     aspx at the “Advance Change Notice Requirements Chart” link;

  o. Louisiana (30 days). A true and correct copy of a printout of the NMLS’s

     Advance Change Notice Requirements Chart, sorted for (i) Agency “LA”, (ii)

     License Name “Sale of Checks and Money Transmitters” and (iii) Legal Name

     Change, is attached as Exhibit 36, and can be accessed at

     https://nationwidelicensingsystem.org/slr/common/Pages/AdvanceChangeNotice.

     aspx at the “Advance Change Notice Requirements Chart” link;

  p. Massachusetts (30 days). A true and correct copy of a printout of the NMLS’s

     MA Foreign Transmittal Agency License Amendment Checklist (Company) is

     attached as Exhibit 37, and can be accessed at

     https://nationwidelicensingsystem.org/slr/PublishedStateDocuments/MA-FTA-

     License-Amendment-Checklist.pdf;

  q. Michigan (30 days). A true and correct copy of a printout of the NMLS’s MI

     Money Transmitter License Amendment Checklist (Company) is attached as

     Exhibit 38, and can be accessed at

     https://nationwidelicensingsystem.org/slr/PublishedStateDocuments/MI-Money-

     Transmitter-License-Company-Amendment-Checklist.pdf;

  r. New Hampshire (30 days). A true and correct copy of a printout of the NMLS’s

     NH Money Transmitter License Amendment Checklist (Company) is attached as

     Exhibit 39, and can be accessed at




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     https://nationwidelicensingsystem.org/slr/PublishedStateDocuments/NH-Money-

     Transmitter-License-Company-Amendment-Checklist.pdf;

  s. North Carolina (30 days). A true and correct copy of a printout of the NMLS’s

     NC Money Transmitter License Amendment Checklist (Company) is attached as

     Exhibit 40, and can be accessed at

     https://nationwidelicensingsystem.org/slr/PublishedStateDocuments/NC_Money_

     Transmitter_License-Company-Amendment-Checklist.pdf;

  t. Utah (30 days). A true and correct copy of a printout of the NMLS’s UT-DFI

     Money Transmitter License Amendment Checklist (Company) is attached as

     Exhibit 41, and can be accessed at

     https://nationwidelicensingsystem.org/slr/PublishedStateDocuments/UT-DFI-

     MONEY-TRANSMITTER-LICENSE-Amendment-Checklist.pdf;

  u. Virginia (30 days). A true and correct copy of a printout of the NMLS’s VA

     Money Order Seller and Money Transmitter License Amendment Checklist

     (Company) is attached as Exhibit 42, and can be accessed at

     https://nationwidelicensingsystem.org/slr/PublishedStateDocuments/VA_Money_

     Order_Seller_and_Money_Transmitter_License--Company-Amendment-

     Checklist.pdf; and

  v. Maryland (60 days). A true and correct copy of a printout of the NMLS’s

     Maryland Money Transmitter License Company Amendments Agency

     Requirements is attached as Exhibit 43, and can be accessed at

     https://nationwidelicensingsystem.org/slr/PublishedStateDocuments/MD-Money-

     Transmitter-Company-Amendment-Checklist.pdf.




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       7.      The NMLS website indicates only three states that may require some approval

under certain circumstances to change a money transmitter’s legal name, as follows:

            a. Hawaii. A true and correct copy of a printout of the NMLS’s Hawaii Money

               Transmitter License Company Amendments Agency Requirements is attached as

               Exhibit 44, and can be accessed at

               https://nationwidelicensingsystem.org/slr/PublishedStateDocuments/HI-Money-

               Transmitter-License-Company-Amendment-Checklist.pdf. This document states

               “prior approval from DFI required” for a legal name change;

            b. New York. A true and correct copy of a printout of the NMLS’s NY Money

               Transmitter License Amendment Checklist (Company) is attached as Exhibit 25,

               and can be accessed at

               https://nationwidelicensingsystem.org/slr/PublishedStateDocuments/NY_Money_

               Transmitter-Company-Amendment-Checklist.pdf. This document states that

               permission must be obtained for a change of legal name if the new name contains

               any of the following words or any derivatives thereof: acceptance, bank, finance,

               investment, loan, mortgage, savings, trust, or guarantee; and

            c. Virginia. A true and correct copy of a printout of the NMLS’s VA Money Order

               Seller and Money Transmitter License Amendment Checklist (Company) is

               attached as Exhibit 42, and can be accessed at

               https://nationwidelicensingsystem.org/slr/PublishedStateDocuments/VA_Money_

               Order_Seller_and_Money_Transmitter_License--Company-Amendment-

               Checklist.pdf. This document states licensees cannot begin conducting Virginia




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               business under the new name until the name has been authorized by the

               Commission.

BitLicense Holder

       8.      The State of New York’s Department of Financial Services (“DFS”) reports that

Square, Inc. has not changed the legal name on its BitLicense to Block, Inc. As of January 12,

2022 (the last date DFS has indicated the information is updated), Block, Inc. is not listed as a

holder of BitLicense, but Square, Inc. is. A true and correct copy of a printout of the New York

DFS’s website is attached as Exhibit 45, and can be accessed at

https://www.dfs.ny.gov/apps_and_licensing/virtual_currency_businesses/regulated_entities.

       9.      Square, Inc.’s “Licenses” webpage on its website (www.squareup.com) states that

its license for “Money Transmission” and “Virtual Currency” “will remain in the name of

‘Square, Inc.’ pending approval of the New York Department of Financial Services.” A true and

correct copy of a printout of Square, Inc.’s “Licenses” webpage from its website is attached as

Exhibit 46, and can be accessed at https://squareup.com/us/en/legal/general/licenses.

Brokerage Services

       10.     According to ispot.tv, Block, Inc. is airing a television ad disclaimer on Cash App

advertising that states: “Brokerage services provided by Cash App Investing, LLC, member

FINRA / SIPC. Cash App does not provide investment advice. Investing has risks: you may lose

money. Megan Thee Stallion not affiliated with Cash App Investing LLC. Bitcoin trading

offered by Square, Inc. Cash App Investing does not trade bitcoin and Square is not a member of

FINRA or SIPC. Square, Inc. is licensed by the New York Department of Financial Services.

Cash app is a financial platform, not a bank. Banking services provided and debit cards issued

by Cash App’s banking partner(s).”). A true and correct copy of a screenshot of the disclaimer




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and printout from the ispot.tv website is attached as Exhibit 47, and can be accessed at

https://ispot.tv/ad/qCTF/cash-app-message-featuring-megan-thee-stallion.

Prepaid Account Holder Agreements

          11.   A search of the online database maintained on the website of the federal

Consumer Financial Protection Bureau (“CFPB”) for “block” shows that there are no prepaid

account holder agreements submitted by “Block, Inc.” A true and correct copy of a printout of

the CFPB’s website showing the results report from a search for the term “block” is attached as

Exhibit 48, and can be accessed at https://www.consumerfinance.gov/data-research/prepaid-

accounts/search-agreements/?search_field=all&q=block (showing 6 matches for the term

“block” within the CFPB’s Prepaid product agreements database, none of which are for Block,

Inc.”).

          12.   A search of the online database maintained on the website of the CFPB for

“square” shows that there are no prepaid account holder agreements submitted by “Square, Inc.”

A true and correct copy of a printout of the CFPB’s website showing the results report from a

search for the term “square” is attached as Exhibit 49, and can be accessed at

https://www.consumerfinance.gov/data-research/prepaid-accounts/search-

agreements/?search_field=all&q=square (showing 12 matches for the term “square” within the

CFPB’s Prepaid products agreements database).

          13.   The Cash App Card application process states that the card is “issued and bank

services provided by Sutton Bank, Member FDIC.” A true and correct copy of a screenshot from

the Cash App Card application process is attached as Exhibit 50.




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Press Coverage Referring to H&R Block as “Block”

       14.     A true and correct copy of an article entitled “Block raises more than $1M for

nonprofits,” published by Accounting Today on or around May 29, 2018, is attached as Exhibit

51, and can be accessed at https://www.accountingtoday.com/news/h-r-block-raises-more-than-

1m-for-nonprofits.

       15.     A true and correct copy of an article entitled “Block to offer clients credit scores

and analysis,” published by Accounting Today on or around March 13, 2018, is attached as

Exhibit 52, and can be accessed at https://www.accountingtoday.com/news/h-r-block-to-offer-

clients-credit-scores-and-analysis.

       16.     A true and correct copy of an article entitled “New Block CEO Jones plans a

return to form,” published by the Kansas City Business Journal on or around February 16, 2018,

is attached as Exhibit 53, and can be accessed at

https://www.bizjournals.com/kansascity/news/2018/02/16/hr-block-jeff-jones-marketing-brand-

drive-revival.html.

       17.     A true and correct copy of an article entitled “Block creates virtual office for

online community,” published by the Kansas City Business Journal on or around March 12,

2007, is attached as Exhibit 54, and can be accessed at

https://www.bizjournals.com/kansascity/stories/2007/03/12/daily23.html.

       18.     A true and correct copy of an article entitled “Block Switches Its Prepaid Cards to

MC,” published by American Banker on or around December 20, 2006, is attached as Exhibit

55, and can be accessed at https://www.americanbanker.com/news/block-switches-its-prepaid-

cards-to-mc-ab298592.




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       19.    True and correct copies of 102 additional articles that refer to H&R Block as

“Block” in their headlines, as obtained from the LexisNexis News database, are attached as

Exhibit 56.



       I declare under penalty of perjury that the foregoing is true and correct.

Executed in Kansas City, Missouri on this 21st day of January, 2022.



                                              ________________________________________
                                              Anthony J. Durone




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